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ame of Attorney Wayne A. Silver

Bar Number CA 108135

 

ity Sunnyvale

 

 

 

 

 

 

 

State CA
Phone # (408) 720-7007
- address “_Silver@sbcglobal.net
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
In re: Anthony Thomas and Wendi Thomas; ) Bankruptcy No. BK-N-14-50333-BTB
AT Emerald, LLC ) ——
[Jointly Administered] ) Chapter No._11
)
Plaintiff ) VERIFIED PETITION FOR
) PERMISSION TO PRACTICE
Vs. ) IN THIS CASE ONLY BY
) ATTORNEY NOT ADMITTED
) TO THE BAR OF THIS COURT
)
)
Defendant(s) ) EFFECTIVE NOVEMBER |, 2011
) FILING FEE IS $200.00
Wayne 5. Salley , Petitioner, respectfully represents to the Court:
1. That Petitioner resides in SU™yvale j CA
(City) (State)
2. That Petitioner is an attorney at law and a member of the law firm of

Law Office of Wayne A. Silver with offices at

 

333 W. El Camino Real, Suite 310

t dd
Sunnyvale, CA istteetaddres)  ayng7 (408) 720-7007

j ‘
(city) (zip code) (area code + telephone number)

 

That Petitioner has been retained personally or as a member of the law firm by

Va
Kenmarky LLC

[client (s) |
the above-entitled case now pending before this Court.

to provide legal representation in connection with

 

 

 
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4, That since 1983 , Petitioner has been and presently isa member
(date)
in good standing of the bar of the highest Court of the State of CA

 

(state)
where Petitioner regularly practices law.

5. That Petitioner was admitted to practice before the following United States District
Courts, United States Circuit Courts of Appeal, the Supreme Court of the United States and Courts

of other States on the dates indicated for each, and that Petitioner is presently a member in good

 

 

 

 

 

 

 

 

 

 

 

standing of the bars of said Courts. Date Admitted
California Supreme Court 6/3/83
US Dist Ct., ND Cal, 6/3/83
Ninth Circuit Court of Appeals 8/11/87
Northern District of TX 716/93
US Supreme Court 4/24/2006
6. That there are or have been no disciplinary proceedings instituted against petitioner,

nor any suspension of any license, certificate or privilege to appear before any judicial, regulatory or
administrative body, or any resignation or termination in order to avoid disciplinary or disbarment

proceedings, except as described in detail below:

 

 

 

 

 
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7. That Petitioner has never been denied admission to the State Bar of Nevada. (Give

particulars of ever denied admission):

 

 

 

8. That Petitioner is a member of good standing in the following Bar Associations:

Santa Clara County

 

 

 

 

9, Petitioner has filed application(s) to appear as counsel under Local Rule IA 10-2

during the past three (3) years in the following matters:

Date of Application Cause Title of Court Was Application
Administrative Body Granted or
or Arbitrator Denied

 

 

 

 

 

(If necessary, please attach a statement of additional applications)

10. _—_— Petitioner consents to the jurisdiction of the courts and disciplinary boards of the State
of Nevada with respect to the law of this state governing the conduct of attorneys to the same extent
as a member of the State Bar of Nevada.

11. Petitioner agrees to comply with the standards of professional conduct required of the
members of the bar of this court.

12. Petitioner has disclosed in writing to the client that the applicant is not admitted to

practice in this jurisdiction and that the client has consented to such representation.

 
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That Petitioner respectfully prays that Petitionet be admitéed to practice bef
FOR THE PURPOSES OF THIS CASE ONLY.
DATED: May 21,2014

this Court

 

vo” Petitioner sSignature

, Petitioner, being first uly sworn, deposes and says:

STATE OF CA

“CO”
)
COUNTY OF Santa Clara )

Wayne A. Silver

 

That the foregoing statements are true.

 

 

(SEAL)

Subscribed and sworn to before me this

  

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NL Notarg public a

Pent Natl ert Naat ai
ie

i
om PAULJ. KIEFER Z
A, COMM. #2022368
FA NOTARY PUBLIC - CALIFORNIA
SA SANTACLARA COUNTY

3 Aeoly/ COMM. EXPIRES MAY 19, 2017

 

 
 
 

 
